Case 4:17-cv-00319-RAS-CAN Document 15 Filed 08/02/17 Page 1 of 1 PageID #: 155



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION


 VICTOR W. FOSTER,                               §
                                                 §
               Plaintiff,                        §    CIVIL ACTION NO. 4:17-CV-00319-ALM-
                                                 §                   CAN
 v.                                              §
                                                 §
 THE BANK OF NEW YORK MELLON,                    §
 BAYVIEW LOAN SERVICING, LLC,                    §
                                                 §
               Defendants.

                                            ORDER

        Pending before the Court is Defendants Bayview Loan Servicing, LLC and The Bank of

 New York Mellon f/k/a The Bank of New York, as trustee for the Certificate Holders CWALT,

 Inc.. Alternative Loan Trust 2004-22CB Mortgage Pass-Through Certificates, Series 2004-22CB

 (“Defendants”) Motion to Dismiss Plaintiff’s Claims [Dkt. 12], filed on July 5, 2017. Plaintiff

 has since filed an Amended Complaint [Dkt. 13] (on July 19, 2017) and Defendants a new

 Motion to Dismiss responsive to the Amended Complaint, namely the Motion to Dismiss

 Plaintiff’s Amended Complaint and Application for Injunctive Relief [Dkt. 14] (on

 August 2, 2017). In light of the Amended Complaint [Dkt. 13] and Defendants’ Motion to

 Dismiss Plaintiff’s Amended Complaint and Application for Injunctive Relief [Dkt. 14], the

 Court finds Defendant’s original Motion to Dismiss Plaintiff’s Claims [Dkt. 12] should be denied

 as moot. Accordingly,

        It is therefore ORDERED that Defendants’ Motion to Dismiss Plaintiff’s Claims

 [Dkt. 12] is hereby DENIED AS MOOT.

        IT IS SO ORDERED.          SIGNED this 2nd day of August, 2017.




 ORDER – Page Solo
                                                         ___________________________________
                                                         Christine A. Nowak
                                                         UNITED STATES MAGISTRATE JUDGE
